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 8
                                 UNITED STATES DISTRICT COURT
 9
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            )   Case No.: 20-CR-00373-EJD
12                                                        )
                               Plaintiff( s),             )   SENTENCING MEMORANDUM
13                                                        )
            vs.                                           )
14                                                        )
                                                          )
15   FRANCISCO JAVIER                                     )
     SCHRAIDT RODRIGUEZ,                                  )
16                                                        )
                                                          )
17                                                        )   Date: August 29, 2022
                              Defendant( s).                  Time: 1;30 p.m.
                                                          )
18                                                        )   Ctrm: 4
                                                          )
19                                                        )   Hon. Edward J. Davila

20
            COMES NOW, FRANCISCO JAVIER SCHRAIDT RODRIGUEZ, by and through his
21
     attorney of record, David Arredondo, the herein defendant submits the following sentencing
22
     position:
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24                                                    I
                                                INTRODUCTION
25
            The defendant pled guilty to a two-count Superseding Indictment charging violations of 21
26
     U.S.C, sections 846, 841(a)(l) and (b )(!)(C)-Conspiracy to Distribute and Possess with Intent to
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                                                     - 1-
                                         SENTENCING MEMORANDUM
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 1 Distribute Fentanyl and Alprazolam; and 21 U.S.C., section 841 (a)(l) and (b)(l)(C)-Distribution

 2   of Fentanyl. A forfeiture allegation is also made pursuant to 21 U.S.C., section 853

 3

 4                                            II
                                FACTORS UNDER 18 U.S.C., Sect. 3553(a)
 5
            The defendant is a 63 year old man who is not in good health, suffering from multiple
 6
     degenerative maladies. In granting the defendant pretrial release, this Court took into consideration
 7
     his poor health. The defendant suffers from diabetes that requires insulin to manage his condition.
 8
     This has given rise to macular degeneration and progressive loss of eyesight. He takes medication to
 9
     manage high blood pressure and also suffers from arthritis and prostate dysfunction. The defendant
10
     has undergone numerous surgeries and suffers from other maladies and malignant injuries, all of
11
     which are enumerated and discussed in the PIR. (p. 10, para. 51) Due to his inflamed prostate the
12
     defendant has to urinate many times during the course of the night and, I am informed by him, that
13
     as a consequence, he cannot sleep well and cellmates take an aggressive attitude towards him
14
     because of the disruption his condition causes to them.
15

16
                                             III
17
                                   GUIDELINE CALCULATION
18
            Pursuant to the Plea Agreement the defendant concurs with the government that: "I agree
19
     that a reasonable and appropriate disposition of this case under the Sentencing Guidelines and 18
20
     U.S.C., section 3553(a), and the sentence to which the parties have agreed is, as follows: a term of
21
     imprisonment between 84 months and 108 months. The parties are leaving open the term of
22
23   supervised release, fine, and restitution for the Court to determine." (Plea Agreement p. 6, para. 8)

24          The PIR makes a recommended sentence of 84 months. (Sentencing Recommendation, p. 3)

25   II
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                                                   - 2-
                                         SENTENCING MEMORANDUM
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 1                                                   IV
                                       OTHER CONSIDERATIONS
 2
            The defendant, together with his siblings, was raised by a lone parent, his mother. Most of
 3
     his childhood was spent working menial jobs to help support the family. He was physically and
 4
 5 verbally abused. His education was relegated to night-time attendance. It was not until he was 40

 6 years of age that defendant changed his own abusive conduct, in order to save his marriage. (PIR

 7 p. 10, para. 48, 49) Taking this, and all section 3553(a) factors into consideration, the Court can
 8
     impose its own sentence on a downward departure from the recommended one,
 9

10
                                                      v
11                                            CONCLUSION
12
            For the foregoing reasons the term of sentence sought should be granted.
13
     DATED: August 21,2022
14                                                           Is/ David Arredondo
15                                                            David Arredondo
                                                              Attorney for Defendant
16                                                            FRANCISO JAVIER SCHRAIDT
                                                              RODRIGUEZ
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                                        SENTENCING MEMORANDUM
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                                     PROOF OF SERVICE
  MCM/ECF;                 [ ] Personal Service; []Mail ;   [] Fax;   [] Email

     1. At the time of service I was at least 18 years of age
and not a party to this action. My residence or business
address is 3232 Tyler Avenue, El Monte, CA 91731, and I am a
resident or employee or said place.
     2. I served a copy of the S ENTEf{C.tt-f6 MEJUOR/l1-fl:) Yl£1.
as follows (check either "a", "b", "c", "d" or "e"):

     a. _M CM/ECF. Those parties who are registered CM/ECF members
and parties to this action are served electronically by
automatic means. All other parties are served as noted below.

     b. []Personal Service. I personally delivered the foregoing
document or papers as follows:
           (1) Person Served:
           {2)       Address:

                (3)             Date Served:
                (4)             Time Served:

     c. []Mail. I deposited the foregoing document or papers in
the United States mail, in a sealed envelope, with postage
prepaid. The envelope was addressed as follows:
           (1) Person Served:
           (2)       Address:

                (3)  Date of Mail:
                (4) Place of Mail:

     d. []Fax. I transmitted via facsimile the forgoing documents
or papers as follows:
           (1) Sending fax:
           (2) Rec'ing fax:
           (3) Trans. date:
           (4)   Attention:

        e. []Email. I Emailed the foregoing documents as follows:
              (1) Email address:
              (2) Person served:
              (2)          Date:

     ~Federal. I declare under the laws of the United States of
America that the foregoing is true and correct.
     []State. I declare under penalty of perjury under the laws
of the State of California that the foregoing is true and
correc~ J
Date:    'isZ?-1                ' 20"-.J...·
         r)   ct:._'-.)(   cf      yt..,- ,~ ~~
        (type or print name)
